Case 2:21-cv-01295-MCA-LDW Document 7 Filed 02/03/21 Page 1 of 4 PageID: 48




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                 (NEWARK VICINAGE)

    AMIRA K. ATTIA,                                 CIVIL ACTION
                                          Plaintiff,
            v.
    GAMESTOP INC., JOHN DOE (1 - 10)                 No. 2:21-cv-01295
    (fictitious person and/or entity unknown)
    AND ABC INC. (1 - 10) (fictitious person
    and/or entity unknown),                          ANSWER WITH AFFIRMATIVE
                                                     DEFENSES OF DEFENDANT,
                                        Defendants. GAMESTOP INC.1



         Defendant, GameStop Inc. (“GameStop”), by and through its counsel, and for its Answer

with Affirmative Defenses to the Plaintiff’s Complaint, does aver as follows:


                                          FIRST COUNT

         1.     Admitted only that plaintiff was present in GameStop’s retail store located at the

Livingston Mall on December 15, 2019. All other allegations pleaded in the corresponding

paragraph of the Complaint are denied.

         2. – 5. Denied as conclusions of law to which no responsive pleading is required. By way

of further response, and only to the extent that factual allegations are pleaded in the corresponding

paragraphs of the Complaint, same are denied.

         WHEREFORE, GameStop Inc. demands judgment in its favor and against plaintiff,

together with recovery of its costs, counsel fees, and such other relief as this Honorable Court may

deem to be appropriate.




1
 All other named GameStop entities and Simon Property Group, L.P. are no longer parties to this action.
See, Stipulation approved by the Court on February 2, 2021, Docket Document No. 6.
Case 2:21-cv-01295-MCA-LDW Document 7 Filed 02/03/21 Page 2 of 4 PageID: 49




                                  AFFIRMATIVE DEFENSES

        FIRST: GameStop is free from any and all negligence.

        SECOND: Plaintiff was guilty of sole and/or contributory negligence which was the

proximate cause of the damages or personal injuries complained of; therefore, plaintiff is barred

from recovery against GameStop.

        THIRD: The negligence of the plaintiff was greater than the negligence of GameStop,

which negligence is denied, and such negligence of the plaintiff was a substantial factor in causing

the accident, personal injuries and damages of which plaintiff now complains, and therefore,

plaintiff is barred from recovery from GameStop in this case by the provisions of N.J.S.A. 2A:15-

5.1 et seq.

        FOURTH: Plaintiff’s recovery for personal injuries and/or damages shall be diminished

by the percentage of the total negligence attributable to the plaintiff under the terms and provisions

of N.J.S.A. 2A:15-5.1 et seq.

        FIFTH: Any and all damages and/or personal injuries sustained by the plaintiff were the

result of the acts and negligence of a third party or parties over whom GameStop exercised no

control.

        SIXTH: The alleged incident complained of resulted from circumstances and conditions

beyond the control of GameStop.

        SEVENTH: The Complaint fails to state a cause of action upon which relief may be

granted and GameStop therefore reserves the right to move to dismiss the Complaint.

        EIGHTH: The conditions alleged in the Complaint were not dangerous nor did they

constitute a foreseeable risk of the kind of injury alleged by plaintiff, nor were the premises

palpably dangerous and GameStop is immune from liability to the plaintiff.
Case 2:21-cv-01295-MCA-LDW Document 7 Filed 02/03/21 Page 3 of 4 PageID: 50




        NINTH: The Complaint shows no violation of any duty that GameStop may have owed

to the plaintiff.

        TENTH:      GameStop was not guilty of any negligence that proximately caused or

contributed to the happening of plaintiff’s injuries, so that in the event plaintiff was not negligent,

then said injuries and resulting damages were the result of an unavoidable accident.

        ELEVENTH: The injuries and damages alleged in the Complaint were caused by and

arose out of risks of which the plaintiff had full knowledge and which she assumed.

        TWELFTH: Before said alleged accident, personal injuries and damages allegedly

sustained by the plaintiff, she saw the peril in which she was placed by her own negligence, and

by the exercise of due care plaintiff could have, and should have, avoided the accident.

        THIRTEENTH: This action is barred by the Statute of Limitations.

        FOURTEENTH: Plaintiff is barred from recovery by plaintiff’s contributory negligence,

which negligence was greater than that of GameStop.

        FIFTEENTH: GameStop is not liable for more than its proper percentage of any award,

as set forth in N.J.S.A. 2A:15-5, being Chapter 146 of the Laws of 1973.

        SIXTEENTH: Any amount plaintiff may recover shall be reduced in proportion to the

amount of negligence attributable to plaintiff.

        SEVENTEENTH: Plaintiff fails to set forth a cause of action upon which relief can be

granted.

        EIGHTEENTH: GameStop reserves the right to interpose such other defenses and

objections as a continuing investigation may disclose.

        NINETEENTH: Plaintiff has failed to mitigate her damages and is thereby barred from

recovery.
Case 2:21-cv-01295-MCA-LDW Document 7 Filed 02/03/21 Page 4 of 4 PageID: 51




        TWENTIETH: Plaintiff is subject to any and all provisions of the Frivolous Lawsuit Act,

N.J.S.A. 2A:15-59.1.

        TWENTY-FIRST: GameStop did not make, nor did it breach, any contract with the

plaintiff.


        WHEREFORE, Defendant, GameStop Inc., prays this Honorable Court for entry of

judgment in its favor, and against plaintiff, together with recovery of its costs, counsel fees, and

such other relief as the Court may find to be appropriate.


                                              SWEENEY & SHEEHAN


                                              By:   /s/Melissa Lang
                                                     Melissa Lang
                                                     Attorney for Defendant,
                                                     GameStop Inc.

DATED: February 3, 2021
